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     ENVIRONMENTAL DEFENSE FUND




UNITED STATES ENVIRONMENTAL PROTECTION AGENCY




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                                         PROOF OF SERVICE
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                       (name of individual and title, if any)

                 (date)


                                                                (place)

                                                                           (date)

                                                                                             (name)



(date)

                                   (name of individual)

                                                                    (name of organization)

                                                                           (date)




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